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GARY L. RAINSDON, TRUSTEE
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                            UNITED STATES BANKRUPTCY COURT

                                        DISTRICT OF IDAHO

In re:                                          )      Chapter 7
                                                )
James J. McCaslin and                           )      Case No. 20-00614-NGH
Judy L. McCaslin,                               )
                                                )
                         Debtors.               )

    NOTICE AND MOTION FOR APPROVAL OF SALE OF REAL PROPERTY
  PURSUANT TO SECTION 363(b) AND APPLICATION FOR COMPENSATION OF
                              REALTOR

         Pursuant to 11 U.S.C. § 363(b), Bankruptcy Rules 6004 and 9014, and LBR 2002.1, Gary

L. Rainsdon, the Chapter 7 Trustee in the above case (the “Trustee”) , provides notice to

interested parties, and moves this Court for approval to sell the real property more fully

described below. The information required by LBR 2002.1 is set forth in this Notice and Motion

as follows:

         1.       Description of Real Property. The Real Property located at 3499 South

Heritage, Boise, ID 83709, and more particularly described as:

              •   Lot 65 in Block 1 of Avonelle Subdivision, according to the official plat thereof,
                  filed in Book 89 of Plats at Page(s) 10337 through 10340, official records of Ada
                  County, Idaho

         2.       Date, Time, and Place of Sale. The sale shall be a public auction on February 22,

2022, at 9:00 am Mountain Time, via telephone conference, originating from Trustee’s office,

located at 884 Rim View Lane E., Twin Falls, ID 83301. Qualified bidders, and their

representatives, an interested parties to this bankruptcy case who wish to participate in the
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telephone conference may do so by calling the sale conference line at: 866-713-6222, with

passcode: 7628667.

       3.      Material Terms of Sale. The Real Property shall be sold to the highest bidder

for a gross purchase price of $465,000.00, or such other reasonable value as Trustee accepts at

the auction, and is approved by this Court. The Trustee has received and accepted from Patrick

Crummett and Ashley Crummett (the “Buyers”), subject to higher bids and Court approval, an

offer of $465,000.00 for purchase of the Real Property. Trustee is not aware of any connection

between the Buyers and Debtor. Closing will be held at the convenience of the parties or as soon

after Court approval as possible.

       4.      Bidding Procedures. The opening bid price shall be the Buyers’ bid of

$465,000.00. Any competing overbids shall start at $474,000.00. Minimum bid increments

shall be at the discretion of Trustee. In order to participate in the auction, an overbidder must

submit to the Trustee, at least by 5:00 p.m. Mountain Time, February 18, 2022, certified funds in

the amount of $10,000.00, payable to “Gary L. Rainsdon, Trustee.” Should the overbidder be the

winning bidder, these funds will be retained by the Trustee as a nonrefundable deposit for

application against the purchase price at the closing; or returned to the overbidder in the event

that the Bankruptcy Court does not approve the sale. The certified funds of unsuccessful bidders

will be refunded to those parties after the auction.

       5.      Sale Free and Clear. This is not a sale free and clear pursuant to 11 U.S.C. §

363(f). Instead, all valid encumbrances will be paid in full at closing. All valid liens shall attach

to the sale proceeds.

       6.      Fair Market Value. Trustee believes the purchase price is approximate to the

fair market value of the property, based upon his discussion with his realtor and current market
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conditions in the Treasure Valley. Trustee has actively marketed the Real Property through the

employed realtor since November 2021.

       7.        Known Liens or Encumbrances.

             •   Mr. Cooper holds a first lien securing a debt of approximately $232,997.76, plus
                 accruing interest.

             •   Accrued Taxes are approximately $1,032.09, plus accruing taxes.


             •   HOA dues and Trash Assessment are approximately $138.49, plus accruing
                 amounts.

       8.        Homestead Exemption. Debtors claim a $175,000.00 homestead exemption in

the Real Property, which shall be paid by Trustee from the sale proceeds.

       9.        Distribution of Sale Proceeds. Subject to Court approval, estimates that the sale

proceeds shall be distributed in the following approximate amounts at the time of closing:

                        Sale Price                           $ 465,000.00
                        Less Estimated Deductions:

                        Homestead Exemption                  $ 175,000.00
                        Mr. Cooper                           $ 232,997.76
                        Real Property Taxes                  $   1,032.09
                        HOA and Trash Assessment             $     138.49
                        6% Realtor Commission                $ 27,900.00
                        Estimated Closing Costs              $   2,279.00




                        Net Proceeds to Estate               $   25,652.66


       10.       Objections. Pursuant to Bankruptcy Rule 6004(b), if you object to the sale, you

must file a written objection with the U.S. Bankruptcy Court (550 W. Fort St., MSC 042, Boise,

ID 83724) no later than 21 days from the mailing of this Motion. You must also serve a copy
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upon the Trustee (Gary L. Rainsdon, P.O. Box 506, Twin Falls, ID 83303). You may also attend

the scheduled hearing (to be scheduled via telephone conference) and present your views or

support your filed response.

        11.     No Tax Consequences to Bankruptcy Estate. Trustee does not estimate any tax

consequences to the bankruptcy estate from the sale of the Real Property.

        12.     The Trustee believes and certifies that all interested parties have been properly

notified pursuant to Bankruptcy Rules 2002 and 6004, and LBR 2002.1. The Trustee believes

the proposed sale is in the best interest of the estate and creditors.

        13.     THE SUBJECT PROPERTY SHALL BE SOLD AS IS, WHERE IS, AND

WITHOUT WARRANTY OF ANY NATURE WHATSOEVER, EITHER EXPRESSED OR

IMPLIED. The Trustee requests that approval of this sale be effective immediately and the 14-

day stay imposed by Fed. R. Bankr. P 6004(h) and other rules be waived.

        14.     Compensation of Realtor. Trustee filed an Application for Leave to Employ

Realtor on October 19, 2021 (Docket No. 49), with Order Approving Employment of Realtor

entered on November 29, 2021 (Docket No. 51). The Realtor listed the Real Property on the

MLS and obtained the purchase offer from the Buyers. Pursuant to 11 U.S.C. § 327 and 330(a),

Trustee seeks Court approval of the Realtor’s commission in the amount of $27,900.00 (six

percent (6%) of the gross sale price) or six percent (6%) of the highest gross bid if a higher bid is

received at the auction.

        DATED January 10, 2022.


                                                                     /s/
                                                                GARY L. RAINSDON, TRUSTEE
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                                CERTIFICATE OF MAILING

        I HEREBY CERTIFY that on January 10, 2022, I filed the foregoing electronically
through the CM/ECF system, which caused the following parties or counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing:

   •   Michael J Archibald marchibald@m2law.net
   •   Holly E Sutherland holly@averylaw.net,
       averybklaw@gmail.com;boise@averylaw.net;twinfalls@averylaw.net;lawar78055@notif
       y.bestcase.com
   •   David M Swartley bknotice@mccarthyholthus.com, dswartley@ecf.courtdrive.com
   •   US Trustee ustp.region18.bs.ecf@usdoj.gov

      AND I FURTHER CERTIFY that on such date I served the foregoing on the following
non- CM/ECF Registered Participants in the manner indicated:
      Via First Class mail, postage prepaid addressed as follows:

       Todd Moffis                                           James J. McCaslin
       Team Realty                                           Judy L. McCaslin
       985 W. Corporate Ln                                   3499 S. Heritage
       Nampa, ID 83651                                       Boise, ID 83709

       PRA Receivables Management, LLC
       PO Box 41021
       Norfolk, VA 23541

       Resurgent Receivables LLC
       Resurgent Capital Services
       PO Box 10587
       Greenville, SC 29603-0587

       Additionally, a copy of the foregoing was served on the below identified parties, from the
mailing matrix obtained by the court website, by first class mail, postage prepaid:

              See attached Mailing Matrix

       Via certified mail, return receipt requested, addressed as follows:

              None



                                                              By:           /s/
                                                                    Gary L. Rainsdon, Trustee
